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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                              SOUTHERN DIVISION


GARY BRICE MCBAY                                                                    PLAINTIFF

V.                                               CIVIL ACTION NO. 1:07CV1205-LG-RHW

HARRISON COUNTY, MISSISSIPPI BY AND
THROUGH ITS BOARD OF SUPERVISORS;
HARRISON COUNTY SHERIFF GEORGE PAYNE;
WAYNE PAYNE; DIANE GATSON RILEY;
STEVE CAMPBELL; RICK GATSON; RYAN TEEL;
MORGAN THOMPSON; JOHN DOES 1-4;
AMERICAN CORRECTIONAL ASSOCIATION;
JAMES A GONDLES, JR.; UNKNOWN DEFENDANTS
1-3 EMPLOYEES OF AMERICAN CORRECTIONAL
ASSOCIATION; HEALTH ASSURANCE LLC AND
UNKNOWN DEFENDANTS 1-2 EMPLOYEES OF
AMERICAN CORRECTIONAL ASSOCIATION                                               DEFENDANTS

         DEFENDANT GEORGE H. PAYNE’S , IN HIS OFFICIAL CAPACITY,
                   MOTION FOR SUMMARY JUDGMENT

       COMES NOW, Defendant George Payne in his official capacity, as Sheriff of Harrison

County, Mississippi, by and through his attorneys of record, Dukes, Dukes, Keating & Faneca, P.A.,

and files this, his Motion for Summary Judgment Pursuant to Fed. R. Civ. P. 56 on Several Grounds,

and in support of said Motion would show unto this Court the following, to-wit:

                                                I.

       The Complaint subjudice is the First Amended Complaint filed February 27, 2009. The only

remaining Defendants are Harrison County, Mississippi, by and through its Board of Supervisors,

former Harrison County Sheriff George Payne, in his official capacity, and former Corrections

Officer Morgan Thompson, acting under the color of state law.



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                                                 II.

       In the First Amended Complaint Plaintiff alleges the following claims: 42 U.S.C. § 1983,

1985, 1988, Fourth Amendment Due Process Claim, Fourteenth Amendment Excessive Force and

Conspiracy Claims, and Official Capacity Claims (custom/policy). Plaintiff alleges Defendant

George Payne is liable to him for injuries sustained during an incident that occurred when the

Plaintiff was booked into the Harrison County Adult Detention Center (hereinafter “HCADC”) on

November 6, 2005.

                                                 III.

       There is no dispute that, on November 6, 2005, Plaintiff was a pretrial detainee incarcerated

at the HCADC.

                                                 IV.

       Plaintiff’s allegations against Defendant George Payne are contained in Paragraphs 3, 5, 107,

and 112 of the First Amended Complaint. Plaintiff specifically alleges that Defendant George Payne

aided and abetted in a pattern of abuse and misuse of force within the HCADC booking area on

pretrial detainees, and that Defendant George Payne conspired with others to conceal the alleged

pattern of abuse and misuse of force by either condoning such acts and/or by failing to take

appropriate actions and measures to prevent the alleged abusive and injurious actions by the

corrections officers in booking.

       Plaintiff further alleges that the Defendant George Payne failed to properly train and/or

supervise his corrections officers and their supervisors, which constituted deliberate indifference on

behalf of Defendant George Payne to the Plaintiff’s safety, welfare and constitutional rights.

Plaintiff alleges that Defendant George Payne allowed the abject lack of training and/or supervision


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to become so pervasive, endemic and well-settled within the HCADC as to constitute a custom and

policy. Plaintiff alleges that Defendant George Payne improperly hired, failed to properly train and

supervise HCADC corrections officers, and that he conspired with other officials of Harrison

County, and demonstrated deliberate indifference to the constitutional rights and medical needs of

injured and abused pretrial detainees.

                                                 V.

       Plaintiff’s §1983 Official Capacity Claims against Defendant George Payne are subject to

dismissal because Plaintiff cannot prove that he suffered a violation of his federal constitutional

rights, nor can he point to the existence of a policy, custom or practice by Defendant George Payne

which was the “moving force” in causing the Plaintiff any alleged constitutional deprivation. To the

contrary, under the direction of Defendant George Payne, the Harrison County Sheriff’s Department

had in place at all relevant times reasonable and adequate policies regarding the use of force,

healthcare, internal affairs investigations, training, and other applicable policies which ensured the

health and safety of both the inmates and officers. Therefore, Defendant George Payne moves for

Summary Judgment on all official capacity claims.

                                                 VI.

       To the extent that Plaintiff alleges any state law claims, such law claims are subject to

dismissal pursuant to Mississippi Tort Claims Act , Miss. Code Ann. §11-46-1, et seq, since there

is no dispute that, at all times relevant to the Complaint, Plaintiff was an inmate incarcerated at

HCADC. Therefore, all of his State law claims are barred by section 11-46-9(1)(m) of the Tort

Claims Act, which prohibits suits by inmates of jails or other detention facilities.




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                                                 VII.

       Plaintiff fails to state a claim for a Conspiracy pursuant to 42 U.S.C. §1985 because the

Complaint allegations do not describe the type of conspiracies proscribed by this statute. As such,

Plaintiff’s claim for conspiracy fails as a matter of law. Plaintiff’s claim for a conspiracy pursuant

to 42 U.S.C. §1983 fails because he cannot establish the existence of a conspiracy involving state

action and a deprivation of civil rights in furtherance of the conspiracy by a party to the conspiracy.

Also, Plaintiff cannot establish that he has lost any civil action as a result of the alleged “cover up”

conspiracy, and the fact that Plaintiff is currently pursuing the claims made herein demonstrates that

such right has not been lost. Therefore, Plaintiff’s claims of alleged conspiratorial “cover up” fails

as a matter of law.

                                                 VIII.

       To the extent that the Plaintiff seeks punitive damages, Defendant George Payne, in his

official capacity, is entitled to Summary Judgment on Plaintiff’s request for punitive damages .

                                                 VIII.

       In support of his Motion Defendant George Payne relies upon the following Exhibits which

are attached hereto and fully incorporated herein by reference:

               Exhibit “A”     -       Deposition of Gary McBay

                        “B”    -       Deposition of Thomas Randazzo

                       “C”     -       Affidavit of Kenneth Allen

                       “D”     -       Deposition of Morgan Thompson

                       “E”     -       Affidavit of George Payne
                               “E1"    -      Facility Goals, Purpose, and Mission Policy
                               “E2"    -      Code of Ethics Policy


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                              “E3" -         General Rules of Conduct
                              “E4" -         Use of Force Policy
                              “E5" -         Use of Restraints
                              “E6" -         Use of Force, General Order #10
                              “E7" -         Healthcare Services
                              “E8" -         Professional Standards Unit General Order #65
                              “E9" -         General Order #62
                              “E11" -        80 Hour training record of Ryan Teel
                              “E13" -        Cover Sheet dated July 20, 2005
                              “E14" -        IA report of Joseph Towner
                              “E15" -        Disciplinary records of Joseph Towner

                      “F”     -      Affidavit of Ken Katsarsis

                      “G”     -      Booking Photo of Gary McBay

                      “H”     -      Supplemental Affidavit of Ken Katsarsis

                      “I”     -      Affidavit of Donald Cabana

                      “J”     -      Memorial Hospital at Gulfport records.

                      “K”     -      Affidavit of Steve Campbell

       Defendant further relies upon and incorporates herein his Memorandum of Authorities being

filed with the Court contemporaneously herewith.

       WHEREFORE, PREMISES CONSIDERED, Defendant George Payne, in his Official

Capacity, hereby files this Motion for Summary Judgment since it is undisputed that he is entitled

to summary judgment on all official capacity claims, as a matter of law. Defendant respectfully

requests that, upon all issues having been duly considered, this Honorable Court will grant this

Motion and dismiss this Civil Action with prejudice. Defendant prays for such other and further

relief as this Honorable Court deems appropriate.




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       RESPECTFULLY SUBMITTED, this the 13th day of November, 2009.

                                               GEORGE PAYNE, JR., IN HIS OFFICIAL
                                               CAPACITY AND HARRISON COUNTY SHERIFF’S
                                               DEPARTMENT, Defendant

                                      BY:      DUKES, DUKES, KEATING & FANECA, P.A.

                                      BY:      /s/Cy Faneca
                                               CY FANECA, MSB #5128

                                CERTIFICATE OF SERVICE

       It is hereby certified that via United States Mail, postage fully pre-paid, a true and correct

copy of the above and foregoing pleading has been delivered to the following::

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THIS, the 13th day of November, 2009

                                           /s/ Cy Faneca
                                          CY FANECA

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